                                 Case 1:18-cv-00138-MW-GRJ Document 5 Filed 07/20/18 Page 1 of 1
JS 44 (Rev, 06/17)                                                           CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadin&s or other papers as required by law, except as
provided by local rules of court. This form, approved by the JUdicial Conference of the United States in September 1974, is requIred for the use of the Clerk of Court for the
purpose ofinitiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF TfflS FORM.)

I. (a) PLAINTIFFS ClEW JEAN GIBSON; DESSIE MITCHESON;                                                          DEFENDANTS COWBOYS SALOON GAINESVILLE, LLC
ALYSSA NOBRIGA; JESSICA HINTON; BROOKE JOHNSON alkla                                                         d/bla COWBOYS SALOON; COWBOYS SALOON STAPLETON, LLC
BROOKE TAYLOR; SARAH STAGE; URSULA MAYES; et al                                                              d/bla COWBOYS SALOON; COWBOYS SALOON HIGH STREET,
                                                                                                             I I ,...
       (b) County of Residence of First Listed Plaintiff             Los Allgeles, California                   County of Residence of First Listed Defendant               Alachua,
                                     (EXCEPT IN US, PLAINTIFF CASES)                                                                          (IN US PLAINTIFF CASES ONLY)
                                                                                                                NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED,


Th~N:;~~offaW'1fi1'r«~')!S':e:dress. and Telephone Number)                                                       Attorneys (If Known)

80 S.W. 8th Street, Suite 2000
Miami, FL 33130

II. BASIS OF JURISDICTION (Place an "XU in One Box Only)                                           III. CITIZENSIDP OF PRINCIPAL PARTIES (Place an "X"                                    in One Boxf or Plaintiff
                                                                                                           (For Diversity Cases On(v)                                          and One Box/or Defendant)
Ijl        U,S, Government               ~3     Federal Question                                                                    PTF          DEF                                          PTF       DEF
              Plaintiff                           (US Government Nat a Party)                         Citizen of This State         Ij           Ij        Incorpomted or Prineipal Place      Ij 4     Ij 4
                                                                                                                                                             of Business In This State

1j2        U,S, Government               1j4    Diversity                                             Citizen of Another State         Ij 2       Ij   2   Incorporated and Principal Place         1j5     1j5
              Defendant                           (Indicate Citizenship ofParties in Item 1lI)                                                                of Business In Another State

                                                                                                                                       Ij         Ij   3   Foreign Nation                           o   6   Ij 6


IV. NATURE OF SUIT                             an "X" in One Box                                                                                  Click here for:

Ij     II 0 Insurance                      PERSONAL INJURY                 PERSONAL INJURY                625 Drug Related Seizure           Ij 422 Appeal 28 USC 158         Ij 375 False Claims Act
Ij     120 Marine                       Ij 310 Airplane                 Ij 365 Personal Injury.·              of Property 21 USC 881         Ij 423 Withdrawal                Ij 376 Qui Tam (31 USC
Ij     130 Miller Act                   Ij 3 I 5 Airplane Product              Product Liability          690 Other                                 28 USC 157                       3729(a»
Ij     140 Negotiable Instrument                  Liability
                                                                        Ij 367 Health Carel                                                  ~~~~:~!Wmii;::4 Ij                    400 State Reapportionment
Ij     150 Recovery of Overpayment      Ij 320 Assault, Libel &                Pharmaceutical                                                                                 Ij   410 Antitrust
            & Enforcement of                      Slander                      Personal Injury                                                                                Ij   430 Banks and Banking
:::J   151 Medicare Act                 Ij 330 Federal Employers'              Product Liability                                                                              Ij   450 Commenoe
Ij     152 Recovery of Defaulted                  Liability             Ij 368 Asbestos Personal                                                                              Ij   460 Deportation
            Student Loans               Ij 340 Marine                           Injury Product                                                                                     470 Racketeer Influenced and
                                                                               LiabilityPROPERTY ~~E;:E:miQtiEm[El;::f~iE~Ii~~:ii5El~d ~
            (Excludes Veterans)         Ij 345 Marine Product
Ij     153 Recovery of Overpayment                Liability               PERSONAL                    k                                                                            480 Corrupt
                                                                                                                                                                                       ConsumerOrganizations
                                                                                                                                                                                                  Credit
            ofVeleran's Benefits        Ij 350 Motor Vehicle            Ij 370 Other Fraud                                    I HIA {                                              490 CablelSat TV
Ij     160 Stockholders' Suits          Ij 355 Motor Vehicle            Ij 371 Truth in Lending'                            862 Black Lung (923)   0                               850 Securities/Commodities!
o      190 Other Contract                        Product Liability      ~ 380 Other Personal      Ij 720 LaborlManagement   863 DIWCIDIWW (405{g))                                     Exchange
Ij     195 Contract Product Liability   Ij 360 Other Personal                  Property Damage           Relations          864 ssm Title XVI                                      890 Other Statutory Actions
Ij     196 Franchise                             Injury                 Ij 385 Property Damage    Ij 740 Railway Labor Aet  865 RSI (405(g»                                        891 Agricultural Acts
                                        Ij 362 Personal Injury •               Product Liability  Ij 751 Family and Medical                                                        893 Environmental Matters

CIj;:~!§ii~mijD=:::~:J~~~~ii~=:pm1~!m1ii:je&1ffii2ii:~
    210 Land Condemnation Ij 440 Other Civil Rights Habea. Corpus:
                                                                          LeaveLabor
                                                                   Ij 790 Other Act Litigation
                                                                   0 791 Employee Retirement                                                 0 870 Taxes (U,S, Plaintiff
                                                                                                                                                                               0 895 Freedom
                                                                                                                                                                                      Act
                                                                                                                                                                               0 896 Aroitration
                                                                                                                                                                                                oflnfonnation


Ij     220 Foreclosure                  Ij 441 Voting                   Ij 463 Alien Detainee                 Income Security Act                   or Defendant)              Ij 899 Administrative Procedure
Ij     230 Rent Lease & Ejectment       0442 Employmcnt                 Ij 510 Motions to Vacate                                             Ij 871 IRS-Third Party                   A.tlReview or Appeal of
Ij     240 Torts to Land                Ij 443 Housing!                          Sentence                                                           26 USC 7609                       Agency Decision
Ij     245 Tort Product Liability                Accommodations         Ij 530 General                                                                                         Ij 950 Constitutionality of
Ij     290 All Other Real Property      Ij 445 Amer, wlDisabilities     0 535 Death Penalty                                                                                           State Statutes
                                                 Employment                  Other:
                                        Ij 446 Arner, wlDisabilities·   0 540 Mandamus & Other        Ij 465 Other Immigration
                                                 Other                  Ij 550 Civil Rights                  Actions
                                        :::J 448 Education              :::J 555 Prison Condition
                                                                        Ij 560 Civil Detainee·
                                                                                 Conditions of
                                                                                 Conflnement

V. ORIGIN (Place an "X" in One Box Only)
ta: J      Original          0 2 Removed from               o    3      Remanded from            o4   Reinstated or      o   5 Transferred from            o   6 Multidistrict           o      8 Multidistrict
           Proceeding            State Court                            Appellate Court               Reopened                 Another District                  Litigation·                      Litigation·
                                                                                                                                 (specify)                       Transfer                         Direct File
                                            Cite the U.S, Civil Statute under which you are filing (Donolcilejurlsdicliona/slalules un/essdiversiJy):
VI CAUSE OF ACTION Lanham Act 15 U.S.C,                                           1125 a: False Advertisin and False Endorsement
       •                                    Boef descrlptton of cause:
                                             Misa      ro riation of ima as without athorization for commerical ur osa
VII. REQUESTED IN     o CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F,R.Cv,P,                                                                                                      JURY DEMAND:                  ]:I{ Yes       ONo
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
07/19/2018                                                                151 Ludmila Khomiak
FOR OFFICE         uSE ONLY
       RECEIPT #                                                               APPL YlNG IFP                                 JUDGE                                MAG,JUDGE
                                                                               Fi led0720'18lJS1J.flnlJlI't0803                        -,--~-~,--


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